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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,        )      1:06-CR-00171 OWW
                                      )
12                                    )      ORDER RE INTERLOCUTORY SALE OF
                      Plaintiff,      )      2006 BMC BOBBER 88 MOTORCYCLE
13                                    )      VIN: 1B9HB28806B565050, PAPER
          v.                          )      TAGS, REGISTERED TO ERASMO SILVA
14                                    )
     ERASMO SILVA,                    )      Date: April 21, 2008
15                                    )      Time: 1:30 p.m.
                                      )      Courtroom #3 (7th Floor)
16                    Defendant.      )      Honorable Oliver W. Wanger
                                      )
17
          Plaintiff United States of America has moved this Court,
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     pursuant to Title 21 U.S.C. § 853(e)(1) and 28 U.S.C. §§ 2001(b) and
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     2004, for an order directing the United States Marshals Service
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     (USMS) to execute an interlocutory private judicial sale of the
21
     following property:
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                 a.   2006 BMC Bobber 88 Motorcycle VIN:
23                    1B9HB28806B565050, Paper Tags, Registered
                      to Erasmo Silva.
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          The   United   States’   Motion       for   Interlocutory   Sale   of   the
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     motorcycle was served on Erasmo Silva.           Lien holder Freedom Rider of
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     Fresno joined in the motion.         The motion came on regularly for
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     hearing on April 21, 2008, Stephanie Hamilton Borchers appeared for
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 1   the Plaintiff; Richard Beshwate appeared for defendant Erasmo Silva

 2   who was present in custody.         Defendant Silva stipulated to not

 3   oppose the motion.

 4         Accordingly, the Court finds that:

 5         1.        The USMS is incurring storage and maintenance costs

 6   while holding the motorcycle subject to these proceedings and such

 7   costs have presently accumulated to over $1,000.00.

 8         2.        The property has diminished in value due to the passage

 9   of time and due to defendant Erasmo Silva’s failure to keep the loan

10   on the motorcycle current.

11         3.     The USMS estimates the current retail value of the

12   motorcycle to be approximately $10,000.00 or less.

13         4.     The sale of the motorcycle, whether now or at the

14   conclusion of the forfeiture proceedings (if successful), will

15   involve additional transaction costs that will further reduce the

16   equity value of the property.

17   Good cause appearing therefore, IT IS HEREBY ORDERED:

18         5.   The United States’ motion for interlocutory sale of the

19   2006 BMC Bobber 88 Motorcycle VIN: 1B9HB28806B565050, Paper Tags is

20   granted.

21         6.    The 2006 BMC Bobber 88 Motorcycle VIN: 1B9HB28806B565050

22   shall be sold by the United States in the most commercially feasible

23   manner and consistent with the terms of this order:

24              a.       The USMS is authorized to retain a vendor who shall

25   be paid the usual and customary commission and/or fees from the

26   proceeds of the sale, or use any other commercially feasible method

27   to sell the property.

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 1              b.     Pursuant to this Court’s authority under 28 U.S.C.

 2   § 2004, the USMS shall not be required to fulfill the requirements

 3   of 28 U.S.C. § 2001(b).      Specifically, the requirements to obtain

 4   three appraisals, publish the sale price to solicit higher bids and

 5   to confirm the sale with the Court are waived due to the low asset

 6   value.

 7              c.   The USMS shall notify lien holder Freedom Rider of

 8   Fresno of the date, place and time of the sale of the motorcycle.

 9              d.    The USMS shall deduct its lawful costs and expenses

10   relating to its custody, maintenance, and sale of the motorcycle

11   from the sale proceeds and pay, from the proceeds, the principal and

12   interest due on the lien held by Freedom Rider of Fresno.               The

13   remaining net proceeds of the sale, if any, shall be deposited in

14   the DEPARTMENT OF JUSTICE SEIZED ASSET DEPOSIT FUND and shall be substituted

15   as the property in this action.

16              e.   The USMS shall retain custody of the motorcycle until

17   it is sold pursuant to this Order.

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19   IT IS SO ORDERED.

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21   Date: April 22, 2008              /s/ OLIVER W. WANGER
                                       OLIVER W. WANGER
22                                     United States District Court Judge

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